
K.C. Mill Road LLC, Plaintiff-Respondent, - 
againstDante Pena, Defendant-Appellant.



Defendant appeals from a judgment of the Small Claims Part of the Civil Court of the City of New York, New York County (Gerald Lebovits, J.), entered on or about April 14, 2015, after trial, in favor of plaintiff and awarding it damages in the principal sum of $3,571.53.




Per Curiam.
Judgment (Gerald Lebovits, J.), entered on or about April 14, 2015, affirmed, without costs. 
The trial court applied the appropriate rules of substantive law and accomplished substantial justice (see CCA 1804, 1807) in awarding judgment to plaintiff upon the trial of the small claims action. The evidence, including the unambiguous language of the surrender agreement executed by the parties, supports the trial court's determination that defendant was liable for unpaid rent that accrued "prior to" the surrender date. Since no proof was submitted that defendant made such rent payments, judgment was properly awarded in plaintiff's favor.Plaintiff's remaining arguments, to the extent preserved for appellate review, have been considered and rejected.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: April 13, 2016










